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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

                                                                        )
     In re:                                                             ) Chapter 11
                                                                        )
     HOLLISTER CONSTRUCTION SERVICES, LLC,1                             ) Case No. 19–27439 (MBK)
                                                                        )
                                                                        )
                              Debtor.                                   )
                                                                        )

                                           AFFIDAVIT OF SERVICE

         I, Nicholas Vass, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
 the claims and noticing agent for the Debtor in the above-captioned chapter 11 case.

        On December 16, 2019, at my direction and under my supervision, employees of Prime
 Clerk caused the following documents to be served by (1) the method set forth on the Core/2002
 Service List attached hereto as Exhibit A and (2) by the method set forth on the Contractor Notice
 Party Service List attached hereto as Exhibit B:

             Debtor’s Motion for Entry of One or More Orders Approving Various Settlements and
              Compromises by and among the Debtor, Project Owners, and Certain Subcontractors and
              Granting Related Relief [Docket No. 649]

             Application for Order Shortening Time Period for Notice and Limiting Notice on the
              Debtor’s Motion for Entry of One or More Orders Approving Various Settlement
              Agreements and Compromises by and among the Debtor, Project Owners, Certain
              Subcontractors and Granting Related Relief [Docket No. 650]

             Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice [Docket
              No. 662]

        On December 16, 2019, at my direction and under my supervision, employees of Prime
 Clerk caused the following documents to be served by the method set forth on the Core/2002
 Service List attached hereto as Exhibit C:

             Amendment to Schedule D, E or F or List of Creditors [Docket No. 665]

             Monthly Staffing and Compensation Report of 10X CEO Coaching, LLC for the Period
              November 1, 2019 through November 30, 2019 [Docket No. 667]




 1
  The Debtor in this chapter 11 case and the last four digits of its taxpayer identification number is: Hollister
 Construction Services, LLC (5404).
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    •    Debtor's Motion for Entry of (A) an Order Extending the Debtor's Exclusive Periods to
         File a Chapter 11 Plan and Solicit Acceptances Thereof and Granting Related Relief; and
         (B) an Order Extending the Deadline to Assume or Reject Unexpired Leases of
         Nonresidential Real Property and Granting Related Relief. [Docket No. 669]

          On December 16, 2019, at my direction and under my supervision, employees of Prime
 Clerk caused the following document to be served via first class mail on the Notice Party Service
 List attached hereto as Exhibit D:

    •    Debtor's Motion for Entry of (A) an Order Extending the Debtor's Exclusive Periods to
         File a Chapter 11 Plan and Solicit Acceptances Thereof and Granting Related Relief; and
         (B) an Order Extending the Deadline to Assume or Reject Unexpired Leases of
         Nonresidential Real Property and Granting Related Relief. [Docket No. 669]

         In addition to the methods of service set forth herein, parties who have requested
 electronic notification of filings via the Bankruptcy Court's CM/ECF system were sent the above
 referenced documents via electronic service.



 Dated: December 18, 2019


 State of New York
 County of New York

 Subscribed and sworn to (or affinned) before me on December 18, 2019, by Nicholas Vass, proved
 to me on the basis of satisfactory evidence to be the person who appeared before me.



 Signature:   ?�'?.�
                   PAUL PUI.L.0
         i\lotary Public, State of New York
                 No. 01PU6231078
             Qualified in Nassau County
        Commission Expires Nov. 15, 20 ;).. �




                                                                                       SRF 38345
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                                     Exhibit A
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                                                                                                                        Exhibit A
                                                                                                                  Core/2002 Service List
                                                                                                                 Served as set forth below

                     DESCRIPTION                                                 NAME                                                ADDRESS                                     EMAIL                   METHOD OF SERVICE
                                                                                                       Attn: Jonathan Squilla
                                                                                                       32 S. Jefferson Road                                  derrick@aes-energy.com
Official Committee of Unsecured Creditors                 AES Lighting Group                           Whippany NJ 07981                                     jonathan@aes-energy.com                  Email
                                                                                                       Attn: Mary Joanne Dowd
Counsel to SBLP Princeton,LLC, a Delaware Limited                                                      1717 K Street NW
Liability Company                                         Arent Fox LLP                                Washington DC 20006                                   mary.dowd@arentfox.com                   Email
                                                                                                       Attn: Robert M. Hirsh, Mark A. B
                                                                                                       1301 Avenue of the Americas
Counsel to SBLP Princeton,LLC, a Delaware Limited                                                      Floor 42                                              robert.hirsh@arentfox.com
Liability Company                                         Arent Fox LLP                                New York NY 10019                                     mark.bloom@arentfox.com                  Email
                                                                                                       Attn: Adrienne C. Rogove
                                                                                                       300 Carnegie Center, Suite 220
Counsel to 640 Columbia Owner LLC                         Blank Rome LLP                               Princeton NJ 08540                                    Rogove@BlankRome.com                     Email
                                                                                                       Attn: Anna F. Patras
                                                                                                       35 Technology Drive, Second Floor
Counsel to Bohler Engineering NY, PL                      Bohler Engineering NY, PLLC                  Warren NJ 07059                                       apatras@bohlereng.com                    Email
                                                                                                       Attn: Anthony M. Rainone
                                                                                                       101 Eisenhower Parkeway
Counsel to Industrial Maintenance Industries              Brach Eichler L.L.C.                         Roseland NJ 07068-1067                                arainone@bracheichler.com                Email
                                                                                                       Attn: Carl J. Soranno
                                                                                                       101 Eisenhower Parkway
Counsel to Air Group, LLC                                 Brach Eichler LLC                            Roseland NJ 07068-1067                                csoranno@bracheichler.com                Email
                                                                                                       Attn: Karen Marques
                                                                                                       211 Warrant St.
Bridge Builders Newark LLC                                Bridge Builders Newark LLC                   Newark NJ 07103                                       karen.marques@bridgebuildersnewark.com   Email
                                                                                                       Attn: Peter J. Broege
                                                                                                       25 Abe Voorhees Drive
Counsel to Encon Mechanical Corp.                         Broege Neumann Fischer & Shaver, L.L.C.      Manasquan NJ 08736                                                                             Overnight Mail
                                                                                                       Attn: Shawn M. Christianson
                                                                                                       55 Second Street, 17th Floor
Counsel to Oracle America, Inc.                           Buchalter, A Professional Corporation        San Francisco CA 94105-3493                           schristianson@buchalter.com              Email
                                                                                                       Attn: Edmund J. Campbell, Jr.
                                                                                                       6 Kings Highway East
Counsel to Glass Systems Tech, LLC                        Campbell Rocco Law, LLC                      Haddonfield NJ 08033                                  ecampbell@campbellroccolaw.com           Email
                                                                                                       Attn: William G. Wright
                                                          Capehart & Scatchard, P.A., A Professional   8000 Midlantic Drive, Suite 300 S
Counsel to Graybar Electric Company, Inc.                 Corporation                                  Mt. Laurel NJ 08054                                   wwright@capehart.com                     Email
Counsel to Arch Insurance Surety Bond Company;                                                         Attn: Armen Shahinian and Robert Nies
Arch Insurance Company and Arch Reinsurance                                                            11 Times Square, 31st Floor                           ashahinian@csglaw.com
Company                                                   Chiesa Shahinian & Giantomasi PC             New York NY 10036                                     rnies@csglaw.com                         Email
Counsel to Arch Insurance Surety Bond Company;                                                         Attn: Armen Shahinian and Robert Nies
Arch Insurance Company and Arch Reinsurance                                                            One Boland Drive                                      ashahinian@csglaw.com
Company                                                   Chiesa Shahinian & Giantomasi PC             West Orange NJ 07052-                                 rnies@csglaw.com                         Email
                                                                                                       Attn: Albert A. Ciardi, III, and Nicole M. Nigrelli
                                                                                                       One Commerce Square
                                                                                                       2005 Market Street, Suite 3500                        aciardi@ciardilaw.com
Counsel to Pentel Drywall, Inc., Delcon Builders, Inc. Ciardi Ciardi & Astin                           Philadelphia PA 19103                                 nnigrelli@ciardilaw.com                  Email



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                                                                                                             Core/2002 Service List
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                     DESCRIPTION                                               NAME                                          ADDRESS                                             EMAIL             METHOD OF SERVICE
                                                                                                   Attn: Jeffrey W. Herrmann, Andrew R. Macklin, Alex A.
                                                                                                   Pisarevsky, Charles R. Cohen
                                                                                                   Park 80 West - Plaza One
                                                          Cohn Lifland Pearlman Herrmann & Knopf   250 Pehle Ave., Suite 401
Counsel to Pereira Electrical Contracting, Inc.           LLP                                      Saddle Brook NJ 07663                                                                        Overnight Mail
                                                                                                   Attn: Felice R. Yudkin
                                                                                                   Court Plaza North
                                                                                                   25 Main St
Counsel to Newkirk Realty LLC                             Cole Schotz P.C.                         Hackensack NJ 07601                                      fyudkin@coleschotz.com              Email
                                                                                                   Attn: Jacob S. Frumkin, Esq.
                                                                                                   Court Plaza North
                                                                                                   25 Main Street
Counsel to Grand Maujer Development, LLC                  Cole Schotz P.C.                         Hackensack NJ 07601                                      jfrumkin@coleschotz.com             Email
                                                                                                   Attn: Michael D. Sirota
                                                                                                   Court Plaza North
                                                                                                   25 Main St
Counsel to Newkirk Realty LLC                             Cole Schotz P.C.                         Hackensack NJ 07601                                      msirota@coleschotz.com              Email
                                                                                                   Attn: Bankruptcy Department
Commonwealth of Pennsylvania Office of Attorney           Commonwealth of Pennsylvania Office of   16th Floor, Strawberry Square
General                                                   Attorney General                         Harrisburg PA 17120                                                                          Overnight Mail
                                                                                                   Attn: Deb Secrest
Counsel to Office of Unemployment Compensation                                                     Collections Support Unit
Tax Services (UCTS), Department of Labor and              Commonwealth of Pennsylvania,            651 Boas Street, Room 925
Industry, Commonwealth of Pennsylvania                    Department of Labor and Industry         Harrisburg PA 17121                                      ra-li-ucts-bankrupt@state.pa.us     Email
                                                                                                   Attn: Philip W. Allogramento III, Mitchell W. Taraschi
                                                                                                   56 Livingston Avenue                                     pallogramento@connellfoley.com
Counsel to Environmental Devices, Inc                     Connell Foley LLP                        Roseland NJ 07068                                        mtaraschi@connellfoley.com          Email
                                                                                                   Attn: Philip W. Allogramento III, Mitchell W. Taraschi
                                                                                                   56 Livingston Avenue                                     pallogramento@connellfoley.com
Counsel to FM Construction Group, LLC                     Connell Foley LLP                        Roseland NJ 07068                                        mtaraschi@connellfoley.com          Email
                                                                                                   Attn: Donna L. Thompson
Counsel to Prendimano Electrical Maintenance Col,                                                  P.O. Box 679
Inc. t/a PEMCO                                            DL Thompson, Law, PC                     Allenwood NJ 08720                                       Donna.Thompson@DLThompsonlaw.com    Email
                                                                                                   Attn: Daniel M. Simon
                                                                                                   1201 West Peachtree Street
Counsel to Waypoint Hackensack Urban Renewal                                                       Suite 2800                                               daniel.simon@us.dlapiper.com
Owner LLC                                                 DLA Piper LLP (US)                       Atlanta GA 30309-3450                                    daniel.simon@dlapiper.com           Email
                                                                                                   Attn: Frank F. Velocci
                                                                                                   600 Campus Drive
Counsel to NSA 18th Avenue, LLC                           Drinker Biddle & Reath LLP               Florham Park NJ 07932-1047                               frank.velocci@dbr.com               Email
                                                                                                   Attn: James J. Holman
                                                                                                   30 South 17th Street
Counsel to PNC Bank, National Association                 Duane Morris LLP                         Philadelphia PA 19103-4196                               jjholman@duanemorris.com            Overnight Mail and Email
                                                                                                   Attn: Sommer L. Ross
                                                                                                   222 Delaware Avenue, Suite 1600
Counsel to PNC Bank, National Association                 Duane Morris LLP                         Wilmington DE 19801-1659                                 slross@duanemorris.com              Email




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                      DESCRIPTION                                               NAME                                             ADDRESS                               EMAIL             METHOD OF SERVICE
                                                                                                        Attn: M. Murphy Durkin
                                                                                                        1120 Bloomfield Avenue
                                                                                                        P.O. Box 1289
Counsel to Dehn Bros. Fire Protection, Inc.                Durkin & Durkin, LLC                         West Caldwell NJ 07007                                                        Overnight Mail
                                                                                                        Attn: Brian R. Tipton
                                                                                                        235 Broubalow Way
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                                                                                                        Attn: Michael Herz
                                                                                                        49 Market Street
Counsel to Troon Electric of New Jersey, LLC               Fox Rothschild LLP                           Morristown NJ 07960                       mherz@foxrothschild.com             Email
                                                                                                        Attn: Michael R. Herz
                                                                                                        49 Market Street
Counsel to Marc and Amy Lebovitz                           Fox Rothschild LLP                           Morristown NJ 07960                       mherz@foxrothschild.com             Email
                                                                                                        Attn: Gary Kaplan
                                                                                                        One New York Plaza
Counsel to 640 Columbia Owner LLC                          Fried Frank Harris Shriver & Jacobson LLP    New York NY 10004                         Gary.Kaplan@FriedFrank.com          Email
                                                                                                        Attn: Gary M. Kushner
                                                                                                        One Penn Plaza, 31st Floor
Counsel to Infinity Painting Co., Inc.                     Goetz Fitzpatrick LLP                        New York NY 10119                         gkushner@goetzfitz.com              Email
                                                                                                        Attn: Carol L. Knowlton
                                                                                                        311 Whitehorse Avenue, Suite A
                                                                                                                                                  cknowlton@gorskiknowlton.com
Counsel to KSS Architects                                  Gorski & Knowlton PC                         Hamilton NJ 08610                                                             Email
                                                                                                        Attn: David L. Bruck
                                                                                                        99 Wood Avenue South
Counsel to Nomad Framing, LLC                              Greenbaum, Rowe, Smith & Davis LLP           Iselin NJ 08830                           dbruck@greenbaumlaw.com             Email
                                                                                                        Attn: alan J. Brody
                                                                                                        500 Campus Drive
Counsel to EWA Moonachie 77, LLC                           Greenberg Traurig, LLP                       Florham Park NJ 07932                     brodya@gtlaw.com                    Email
                                                                                                        Attn: Joann S. Haddad, Esq.
                                                                                                        1223 Broad Street
Official Committee of Unsecured Creditors                  Haddad Plumbing & Heating, Inc.              Newark NJ 07114                           JHaddad@HaddadPlumbing.com          Email
                                                                                                        Attn: Steven B. Smith
                                                                                                        Two Park Avenue
Counsel to CS Utica & Remsen LLC                           Herrick Feinstein LLP                        New York NY 10016                         ssmith@herrick.com                  Email
                                                                                                        Attn: Michael Kahme & Michael J. Shavel
                                                                                                        21 Roszel Road
                                                                                                        P.O. Box 5226                             mkahme@hillwallack.com
Counsel to Accordia Harrison Urban Renewal, LLC            Hill Wallack LLP                             Princeton NJ 08543                        mshavel@hillwallack.com             Email
                                                                                                        Attn: Jennifer V. Doran
                                                                                                        28 State Street
Counsel to Ocean Steel Corporation                         Hinckley, Allen & Snyder LLP                 Boston MA 02109                           jdoran@hinckleyallen.com            Email
                                                                                                        Attn: Eric Sobel
                                                                                                        843 King Georges Road
Official Committee of Unsecured Creditors                  Industrial Maintenance Industries            Fords NJ 08863                            EricS@RTI-IMI.com                   Email




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                                                                                                                 Served as set forth below

                     DESCRIPTION                                               NAME                                               ADDRESS                                              EMAIL            METHOD OF SERVICE
                                                                                                        Attn: Bankruptcy Department
                                                                                                        2970 Market Street
                                                                                                        Mail Stop 5-Q30.133
The Internal Revenue Service                              Internal Revenue Service                      Philadelphia PA 19104-5016                                                                   Overnight Mail
                                                                                                        Attn: Andrew B. Cohn
                                                                                                        910 Harvest Drive
                                                                                                        PO Box 3037
Counsel to Jonasz Precast, Inc.                           Kaplin Stewart Meloff Reiter & Stein , P.C.   Blue Bell PA 19422-0765                                   acohn@kaplaw.com                   Email
                                                                                                        Attn: Kenneth Fritze
                                                                                                        10 Stewart Place
Top 20 Creditor                                           KF Mechanical                                 Fairfield NJ 07004                                        KFritze@kfmechanical.com           Email
                                                                                                        Attn: Kenneth C. Barrows
                                                                                                        4736 36th Street
Official Committee of Unsecured Creditors                 Kone, Inc.                                    Long Island City NY 11101                                 Kenneth.barrows@kone.com           Email
                                                                                                        Attn: Seth Ptasiewicz
                                                                                                        Metro Corporate Campus
Counsel to New Jersey Building Laborers' Statewide                                                      99 Wood Avenue South, Suite 307
Benefit Funds                                      Kroll Heineman Carton                                Iselin NJ 08830                                           SPtasiewicz@krollfirm.com          Email
                                                                                                        Attn: Larry L Miller
                                                                                                        11722 Taneytown Pike
Counsel to L & W Supply Corporation                       Larry L Miller                                Taneytown MD 21787                                        llmlaw@outlook.com                 Email

                                                                                                        Attn: James C. Dezao, Kathy Cehelsky, Margaret Meade
                                                                                                        322 Route 46 West
Counsel to Orange County Superior Concrete, Bel-                                                        Suite 120
Con Construction Services                                 Law Office of James C. DeZao                  Parsippany NJ 07054                                       jreiser@dezaolaw.com               Email
                                                                                                        Attn: Charles A. Gruen
                                                                                                        381 Broadway
                                                                                                        Suite 300
Counsel to Michaels Electrical Supply Corp.               Law Offices of Charles A. Gruen               Westwood NJ 07675                                                                            Overnight Mail
                                                                                                        Attn: Karen M. Murray
                                                                                                        8 East Main Street
Counsel to P. Tamburri Steel LLC                          Law Offices of Karen Murray LLC               Moorestown NJ 08057                                       kmurray@murraynjlaw.com            Email
                                                                                                        Attn: Karen M. Murray
                                                                                                        8 East Main Street
Counsel to P3 Metals LLC                                  Law Offices of Karen Murray LLC               Moorestown NJ 08057                                       kmurray@murraynjlaw.com            Email
                                                                                                        Attn: Lawrence B. Diener
                                                                                                        Court Plaza North
Counsel to Advanced Scaffold Services LLC and                                                           25 Main Street Suite 200
Advanced Scaffold Services Mid-Atlantic LLC               Lawrence B. Diener                            Hackensack NJ 07601                                       LBDiener@optimum.net               Email
                                                                                                                                                                  aadler@lowenstein.com
                                                                                                                                                                  bbuechler@lowenstein.com
                                                                                                        Attn: Arielle Adler, Bruce Buechler, Joseph DiPasquale,   jdipasquale@lowenstein.com
                                                                                                        Jennifer B. Kimble, Kenneth A. Rosen, Mary E. Seymour     jkimble@lowenstein.com
                                                                                                        One Lowenstein Drive                                      krosen@lowenstein.com
Counsel to the Debtor                                     Lowenstein Sandler, LLP                       Roseland NJ 07068                                         mseymour@lowenstein.com            Email




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                                                                                                       Served as set forth below

                    DESCRIPTION                                     NAME                                                ADDRESS                                         EMAIL             METHOD OF SERVICE
                                                                                            Attn: Michele L. Ross, Esq.
                                                                                            440 Sylvan Avenue
                                                                                            Suite 220
Counsel to Control Services, LLC                  M. Ross & Associates, LLC                 Englewood Cliffs NJ 07632                                                                  Overnight Mail
                                                                                            Attn: Eric J. Hughes
                                                                                            1300 Mount Kemble Avenue
                                                  McElroy, Deutsch, Mulvaney & Carpenter,   P.O. Box 2075
Counsel to Liberty Mutual Insurance Company       LLP                                       Morristown NJ 07962                                     ehughes@mdmc-law.com               Overnight Mail and Email
                                                                                            Attn: Ilana Volkov, Pearl Shah
                                                                                            888-C 8th Avenue #107                                   ivolkov@mcgrailbensinger.com
Counsel to Kone Inc.                              McGrail & Bensinger LLP                   New York NY 10019                                       pshah@mcgrailbensinger.com         Email
                                                                                            Attn: Andrea Dobin
Counsel to Official Committee of Unsecured                                                  427 Riverview Plaza
Creditors of Hollister Construction Services, LLC McManimon, Scotland & Baumann, LLC        Trenton NJ 08511                                        adobin@msbnj.com                   Email
                                                                                            Attn: Sam Della, Fera Jr., Joshua H. Raymond, Anthony
                                                                                            Sodono III                                              sdellafera@msbnj.com
Counsel to Official Committee of Unsecured                                                  75 Livingston Avenue                                    jraymond@msbnj.com
Creditors of Hollister Construction Services, LLC McManimon, Scotland & Baumann, LLC        Roseland NJ 07068                                       asodono@msbnj.com                  Email
                                                                                            Attn: Joseph R. Zapata, Jr.
                                                                                            101 Gibraltar Drive, Suite 2F
Counsel to STMR, Inc.                             Mellinger, Sanders & Kartzman, LLC        Morris Plains NJ 07950                                                                     Overnight Mail
                                                                                            Attn: Brian P. Craig
                                                                                            400 Garden City Plaza
Counsel to Fort Hill Industries, Inc.             Mortitt Hock & Hamroff LLP                Garden City NY 11530                                    bcraig@moritthock.com              Email
                                                                                            Attn: Division of Law
                                                                                            Richard J. Hughes Justice Complex
                                                                                            25 Market Street
Attorney General of the State of New Jersey       New Jersey Attorney General’s Office      Trenton NJ 08625-0112                                                                      Overnight Mail
                                                                                            Attn: Compliance and Enforcement
                                                                                            Bankruptcy Unit
                                                                                            50 Barrack Street, 9th Floor
New Jersey Division of Taxation                   New Jersey Division of Taxation           Trenton NJ 08695                                                                           Overnight Mail
                                                                                            Attn: Office of Counsel
                                                  New York State Department of Taxation and Building 9, W A Harriman Campus
New York State Department of Taxation and Finance Finance                                   Albany NY 12224-0341                                                                       Overnight Mail
                                                  Newark Warehouse Urban Renewal, LLC and Attn: Pasquale Suriano
                                                  Newark Warehouse Redevelopment            110 Edison Place, Suite 300
Official Committee of Unsecured Creditors         Company, LLC                              Newark NJ 07102                                         pasquales@edprop.com               Email
                                                                                            Attn: Christopher M. Santomassimo
                                                                                            1 Gatehall Drive, Suite 100
Counsel to Dancker                                Nicoll Davis & Spinella LLP               Parsippany NJ 07054                                     csantomassimo@ndslaw.com           Email
                                                                                            Attn: Michael J. Stafford
                                                                                            Turnpike Metroplex, Suite 201
                                                                                            190 State Highway 18
Counsel to Anvil Craft Corp.                      Nordlaw                                   East Brunswick NJ 08816                                 mjstafford@nordlaw.legal           Email




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                     DESCRIPTION                                                NAME                                                ADDRESS                                            EMAIL           METHOD OF SERVICE
                                                                                                        Attn: Brian G. Hannon, John O'Boyle
                                                                                                        184 Grand Avenue                                        bhannon@norgaardfirm.com
Counsel to Imperial Floors, LLC                           Norgaard O’Boyle                              Englewood NJ 07631                                      joboyle@norgaardfirm.com            Email
                                                                                                        Attn: Melissa A. Pena
                                                                                                        400 Crossing Boulevard, 8th Floor
Counsel to Target Fire Protection                         Norris McLaughlin, P.A.                       Bridgewater NJ 08807                                    mapena@norris-law.com               Email
                                                                                                        Attn: Morris S. Bauer
                                                                                                        400 Crossing Boulevard, 8th Floor
Counsel to Ware Malcomb                                   Norris McLaughlin, PA                         Bridgewater NJ 08807                                    msbauer@norris-law.com              Email
                                                                                                        Attn: Joshua A. Zielinski, R. Brant Forrest
                                                                                                        14 Village Park Road                                    jzielinski@oslaw.com
Counsel to DeSesa Engineering Company, Inc.               O’Toole Scrivo, LLC                           Cedar Grove NJ 07009                                    rforrest@oslaw.com                  Email
                                                                                                        Attn: Eamonn O'Hagan, Assistant U.S. Attorney
                                                          Office of the United States Attorney of New   970 Broad Street, Suite 700
United States Attorney                                    Jersey                                        Newark NJ 07102                                         Eamonn.OHagan@usdoj.gov             Overnight Mail and Email
                                                                                                        Attn: Lauren Bielskie, Esq.
                                                                                                        One Newark Center
                                                          Office of the United States Trustee for the   Suite 2100
United States Trustee                                     District of New Jersey                        Newark NJ 07102                                         lauren.bielskie@usdoj.gov           Overnight Mail and Email
                                                                                                        Attn: Bankruptcy Division
                                                                                                        P.O. Box 2809467
Pennsylvania Department of Revenue                        Pennsylvania Department of Revenue            Harrisburg PA 17127-0946                                                                    Overnight Mail

Counsel to 5 Bay Street Phase 1 LLC, 5 Bay Street                                                       Attn: Henry J. Jaffe, Kenneth A. Listwak
Phase 1 Sponsor Member Inc., 5 Bay Street Phase 3                                                       Hercules Plaza
LLC, 10 Minerva Place L.P. and 10 Minerva Place                                                         1313 N. Market St., Suite 5100                          jaffeh@pepperlaw.com
Housing Development Fund Corporation              Pepper Hamilton LLP                                   Wilmington DE 19801                                     listwakk@pepperlaw.com              Email

Counsel to 5 Bay Street Phase 1 LLC, 5 Bay Street
Phase, 1 Sponsor Member Inc., 5 Bay Street Phase 3                                                      Attn: Stephanie L. Jonaitis, Robyn R. English-Mezzino
LLC, 10 Minerva Place L.P. and 10 Minerva Place                                                         301 Carnegie Center, Suite 400                          jonaitiss@pepperlaw.com
Housing Development Fund Corporation               Pepper Hamilton LLP                                  Princeton NJ 08543-5276                                 englishr@pepperlaw.com              Email
                                                                                                        Attn: Brian W. Bisignani
                                                                                                        1869 Charter Lane, Suite 102
                                                                                                        P.O. Box 10248
Counsel to High Concrete Group, LLC                       Post & Schell, P.C.                           Lancaster PA 17605-0248                                 bbisignani@postschell.com           Email
                                                                                                        Attn: Brian W. Bisignani
                                                                                                        1869 Charter Lane, Suite 102
                                                                                                        P.O. Box 10248
Counsel to Conewago Enterprises, Inc.                     Post & Schell, P.C.                           Lancaster PA 17605-0248                                 bbisignani@postschell.com           Email
                                                                                                        Attn: Brian W. Bisignani
                                                                                                        1869 Charter Lane, Suite 102
                                                                                                        P.O. Box 10248
Counsel to Fabcon Precast                                 Post & Schell, P.C.                           Lancaster PA 17605-0248                                 bbisignani@postschell.com           Email




         In re: Hollister Construction Services, LLC
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                                                                                                              Core/2002 Service List
                                                                                                             Served as set forth below

                     DESCRIPTION                                         NAME                                                ADDRESS                                    EMAIL            METHOD OF SERVICE
                                                                                                   Attn: Jay L. Lubetkin
                                                                                                   293 Eisenhower Parkway
                                                                                                   Suite 100
Counsel to Christopher Johnson and Kieran Flanagan Rabinowitz, Lubetkin & Tully, LLC               Livingston NJ 07039                            jlubetkin@rltlawfirm.com            Email
                                                                                                   Attn: Jeffrey J. Rea
                                                                                                   11 Broadway, 2nd Floor
Counsel to City Contracting, Inc.                    Rea & Associates, LLC                         Clark NJ 07066                                 jeffrea@aol.com                     Email
                                                                                                   Attn: Hisham I. Masri
                                                                                                   485 Totowa Road
Columbian Iron Works, Inc.                           Reddin Masri, LLC                             Totowa NJ 07512                                hmasri@reddinmasrilaw.com           Email
                                                                                                   Attn: Joseph L. Schwartz, Tara J. Schellhorn
Counsel to Newark Warehouse Urban Renewal, LLC;                                                    Headquarters Plaza
Newark Warehouse Redevelopment Company, LLC;                                                       One Speedwell Avenue                           jschwartz@riker.com
and Edison Construction Management, LLC              Riker, Danzig, Scherer, Hyland & Perretti LLP Morristown NJ 07962                            tschellhorn@riker.com               Email
                                                                                                   Attn: Yale A. Leber
                                                                                                   25 Main Street
                                                                                                   Court Plaza North, Suite 501
Counsel to RH 537 Building Owner LLC                 Rivkin Radler LLP                             Hackensack NJ 07601-7082                       yale.leber@rivkin.com               Email
                                                                                                   1330 Hamburg Turnpike
Counsel to Starlite Electric LLC                     Robert Saul Molnar                            Wayne NJ 07470                                 molnarrs@aol.com                    Email
                                                                                                   Attn: Laurence D. Pittinsky
                                                                                                   232 Madison Avenue, Suite 906
Counsel to Boyd Mechanical, LLC                      Rosenberg & Pittinsky L.L.P.                  New York NY 10016                              larry@rpllplaw.com                  Email
                                                                                                   Attn: Robert Ardolino
                                                                                                   201 Columbia Turnpike
Official Committee of Unsecured Creditors            Sanray Construction, Inc.                     Florham Park NJ 07932                          sanrayconstruct@optimum.net         Email
                                                                                                   Attn: K. Joseph Vyzas
                                                                                                   1771 Front Street
Counsel to Rexel, Inc.                               Schiller, Pittenger & Galvin, P.C.            Scotch Plains NJ 07076                         jvyzas@schiller.law                 Email
                                                                                                   Attn: Allen J. Barkin
                                                                                                   1110 Springfield Road
                                                                                                   P.O. Box 1339
Counsel to Drobach Equipment Rental Co.              Schwartz Barkin & Mitchell                    Union NJ 07083-1339                            abarkin@sbmesq.com                  Email
                                                                                                   Attn: David E. Sklar
Attorneys for Atlantic Engineering Laboratories of   Scura, Wigfield, Heyer, Stevens &             1599 Hamburg Turnpike
NY, Inc.                                             Cammarota                                     Wayne NJ 07470                                                                     Overnight Mail
                                                                                                   Attn: Marguerite M. Schaffer
                                                                                                   150 Morristown Road, Suite 105
Counsel to Unique Scaffolding, LLC N.A.              Shain Schaffer PC                             Bernardsville NJ 07924                         mschaffer@shainlaw.com              Email
                                                                                                   Attn: Martin P. Skolnick
Counsel to Stateline Fabricators, LLC, ArchMills LLC                                               103 Eisenhower Parkway, Suite 305
d/b/a ArchMills Doors and Hardware                   Skolnick Legal Group, P.C.                    Roseland NJ 07068                              martin@skolnicklegalgroup.com       Email
                                                                                                   Attn: Steven Mitnick, Marc D. Miceli
                                                                                                   P.O. Box 530
                                                                                                   49 Old Turnpike Road                           smitnick@sm-lawpc.com
Counsel to P. Cipollini, Inc. t/a Cipollini Roofing  SM Law PC                                     Oldwick NJ 08858                               mmiceli@sm-lawpc.com                Email




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                     DESCRIPTION                                                 NAME                                           ADDRESS                                 EMAIL           METHOD OF SERVICE
                                                                                                     Attn: Benjamin A. Stanziale, Jr.
                                                                                                     29 Northfield Avenue, Suite 201
Counsel to Life Town Inc.                                 Stanziale & Stanziale, P.C.                West Orange NJ 07052-5468                                                       Overnight Mail
                                                                                                     Attn: Joseph H. Lemkin
                                                                                                     P.O. Box 5315
Counsel to High Concrete Group, LLC                       Stark & Stark                              Princeton NJ 08543-5315                       jlemkin@stark-stark.com           Email
                                                                                                     Attn: Joseph H. Lemkin
                                                                                                     P.O. Box 5315
Counsel to Conewago Enterprises, Inc.                     Stark & Stark                              Princeton NJ 08543-5315                       jlemkin@stark-stark.com           Email
                                                                                                     Attn: Joseph H. Lemkin
                                                                                                     P.O. Box 5315
Counsel to Fabcon Precast                                 Stark & Stark                              Princeton NJ 08543-5315                       jlemkin@stark-stark.com           Email
                                                                                                     Attn: Bankruptcy Department
                                                          State of New York Office of the Attorney   The Capitol
Attorney General of the State of New York                 General                                    Albany NY 12224-0341                                                            Overnight Mail
                                                                                                     Attn: Rocco A. Cavaliere, Scott Markowitz
                                                                                                     1350 Broadway, 11th Floor                     rcavaliere@tarterkrinsky.com
Counsel to Titan Industrial Services Corp.                Tarter Krinsky & Drogin LLP                New York NY 10018                             smarkowitz@tarterkrinsky.com      Email
Counsel to Herc Rentals, Inc., Samph Contracting,
LLC, MDS Construction, Global Development                                                            Attn: Danielle Cohen, Lee M. Tesser
Contractors, LLC, Orion Interiors, Inc., National                                                    946 Main Street                               dcohen@tessercohen.com
Fireproofing & Insulation Co., Inc.                       Tesser & Cohen                             Hackensack NJ 07601                           ltesser@tessercohen.com           Email
                                                                                                     Attn: Andrew J. Kelly, Esq.
                                                                                                     1011 Highway 71
                                                                                                     Suite 200
Counsel to Schnell Contracting Systems, LLC               The Kelly Firm, P.C.                       Spring Lake NJ 07762                          akelly@kbtlaw.com                 Email
                                                                                                     Attn: Greg Trif
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                                                                                                     North Tower, Suite 201
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                                                                                                     89 headquarters Plaza
                                                                                                     Suite 201
Counsel to Jordano Electric, Inc.                         Trif Law LLC                               North Tower NJ 07960                          gtrif@triflaw.com                 Email
                                                                                                     Attn: Greg Trif
                                                                                                     89 headquarters Plaza
                                                                                                     North Tower, Suite 201
Counsel to KR Masonry LLC                                 Trif Law LLC                               Morristown NJ 07960                           gtrif@triflaw.com                 Email
                                                                                                     Attn: Paul Benevenuto
                                                                                                     307 7th Avenue, Suite 1204
Official Committee of Unsecured Creditors                 Troon Electric of NY, LLC                  New York NY 10001                             pbenvenuto@troonelectric.com      Email
                                                                                                     Attn: Sydney J. Darling, Stephen V. Falanga
                                                                                                     Three Gateway Center
                                                                                                     100 Mulberry St, 15th Fl                      sdarling@walsh.law
Counsel to Schindler Elevator Corporation                 Walsh Pizzi O’reilly Falanga LLP           Newark NJ 07102                               sfalanga@walsh.law                Email




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                     DESCRIPTION                                             NAME                                              ADDRESS                                EMAIL           METHOD OF SERVICE
                                                                                                   Attn: Stephen V. Falanga, Sydney J. Darling
                                                                                                   Three Gateway Center
Counsel to Fairleigh Dickinson University, Fairleigh                                               100 Mulberry St, 15th Fl                      sdarling@walsh.law
Dickinson University                                      Walsh Pizzi O'Reilly Falanga LLP         Newark NJ 07102                               sfalanga@walsh.law                Email
                                                                                                   Attn: Grant R. Cornehls, Maxwell J. Rubin
                                                                                                   575 Lexington Avenue, 7th Floor               gcornehls@wbny.com
Counsel to Nickerson Corporation                          Warshaw Burstein, L.L.P.                 New York NY 10022                             mrubin@wbny.com                   Email
                                                                                                   Attn: Daniel M. Stolz, Esq.
                                                                                                   110 Allen Road
                                                                                                   Suite 304
Counsel to 147 Bloomfield Ave J.V. LLC                    Wasserman, Jurista & Stolz, P.C.         Basking Ridge NJ 07920                        DStolz@wjslaw.com                 Email
                                                                                                   Attn: Richard E. Weltman, Michele K. Jaspan
                                                                                                   18 Columbia Turnpike, Suite 200               rew@weltmosk.com
Counsel to Reliance Mechanical, Inc.                      Weltman & Moskowitz, LLP                 Florham Park NJ 07932-2266                    mkj@weltmosk.com                  Email
                                                                                                   Attn: Mickee M. Hennessy, John Westerman
                                                          Westerman Ball Ederer Miller Zucker &    1201 RXR Plaza                                mhennessy@westermanllp.com
Counsel to Veteran’s Road SPE, LLC                        Sharfstein, LLP                          Uniondale NY 11556                            jwesterman@westermanllp.com       Email
                                                                                                   Attn: David H. Stein, Meredith I. Friedman
                                                                                                   90 Woodbridge Center Drive
                                                                                                   Suite 900, Box 10                             dstein@wilentz.com
Counsel to CTC Academy                                    Wilentz, Goldman & Spitzer, P.A.         Woodbridge NJ 07095                           mfriedman@wilentz.com             Email




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                                                                                                                          Contractor Notice Party Service List
                                                                                                                              Served as set forth below

                     NAME                                   ADDRESS 1                     ADDRESS 2                       ADDRESS 3                          CITY       STATE POSTAL CODE COUNTRY                                                      EMAIL       METHOD OF SERVICE
345 Main St JV LLC                                345 Main St                                                                                        Madison            NJ   07940                                                                             Overnight Mail
                                                                                                                                                                                                    abledoor@yahoo.com;
Able Rolling Steel Door Inc                       9 Romanelli Ave                                                                                    S. Hackensack      NJ   07606                  chris@ablerollingdoor.com                                  Overnight Mail and Email
Accordia Harrison Urban Renewal LLC               D Marks 377 Broadway    7th Floor                                                                  New York           NY   10013                  dmarks@borahgoldstein.com                                  Overnight Mail and Email
Accordia Harrison Urban Renewal LLC               Kevin Yu                353 Lexington Ave 5th Floor                                                New York           NY   10016                                                                             Overnight Mail
Accordia Harrison Urban Renewal LLC               Kevin Yu                130 E 40th St 5th Fl                                                       New York           NY   10016                                                                             Overnight Mail
                                                                                                                                                                                                    mkahme@hillwallack.com;
Accordia Harrison Urban Renewal, LLC              Hill Wallack LLP        Attn: Michael Kahme, Esq.           21 Roszel Road, P.O. Box 5226          Princeton          NJ   08543                  mshavel@hillwallack.com                                    Overnight Mail and Email
                                                                                                                                                                                                    christina.perez@airgroupllc.com;




                                                                                                                                                                                                                            Case 19-27439-MBK
                                                                                                                                                                                                    pete.ballotta@airgroupllc.com;
Air Group LLC                                     John Conforti           1 Prince Rd                                                                Whippany           NJ   07981                  bill.struck@airgroupllc.com                                Overnight Mail and Email
Air Group LLC                                     Brach Eichler LLC       C Soranno 101 Eisenhower Pkwy                                              Roseland           NJ   07068‐1067             csoranno@bracheichler.com                                  Overnight Mail and Email
Atlantic Building Specialties                     Attn Nick Cerniglia     4000 Bordentown Ave Ste 11                                                 Sayreville         NJ   08872                                                                             Overnight Mail
Bailey's Square Janitorial                        11 Marcy St                                                                                        Freehold           NJ   07728                                                                             Overnight Mail
Benco Inc                                         10 Madison Rd           Unit E                                                                     Fairfield          NJ   07004                  bill@bencoinc.com                                          Overnight Mail and Email
Benco Inc                                         Karen Pyonin            10 Madison Rd Unit E                                                       Fairfield          NJ   07004                  karen@bencoinc.com                                         Overnight Mail and Email
Benco Inc                                         Fox Rothschild LLP      M Herz 49 Market St                                                        Morristown         NJ   07960                  mherz@foxrothschild.com                                    Overnight Mail and Email
Dyer Insulations Inc.                             70 Cobb Street          PO Box 675                                                                 Rockaway           NJ   07866                  rdyer@dyerinsulations.com                                  Overnight Mail and Email
Edgeboro International Inc.                       PO Box 520                                                                                         Milltown           NJ   08850                                                                             Overnight Mail
Esposito Construction LLC                         253 Main St Ste 385                                                                                Matawan            NJ   07747‐3222             pe@espocon.net                                             Overnight Mail and Email
FM Construction Group LLC                         Keith Chebuske          100 Dr Martin Luther King Jr Blvd                                          East Orange        NJ   07017                  keith@fmconstructiongroup.com                              Overnight Mail and Email
FM Construction Group LLC                         Thomas Zutkowski        100 Dr Martin Luther King Jr Blvd                                          East Orange        NJ   07017                  pallogramento@connellfoley.com                             Overnight Mail and Email
                                                                                                                                                                                                    pallogramento@connellfoley.com;
FM Construction Group LLC                         Connell Foley LLP       P Allogramento 56 Livingston Ave                                           Roseland           NJ   07068                  mtaraschi@connellfoley.com                                 Overnight Mail and Email




                                                                                                                                                                                                    Doc 682 Filed 12/18/19 Entered 12/18/19 23:08:35
FM Construction Group LLC                         144 North Clinton St                                                                               East Orange        NJ   07017                                                                             Overnight Mail
Friends Carpentry & Paint LLC                     1528 Wharton St                                                                                    Philadelphia       PA   19146                  friendscarpentryandpaint@gmail.com                         Overnight Mail and Email
Friends Carpentry & Paint LLC                     2700 Riverton Rd                                                                                   Cinnaminson        NJ   08077                                                                             Overnight Mail
Haddad Heating & Plumbing Inc                     Brach Eichler LLC       C Soranno 101 Eisenhower Pkwy                                              Roseland           NJ   07068                  csoranno@bracheichler.com                                  Overnight Mail and Email
Haddad Heating & Plumbing Inc                     Shallan Haddad          1223 Broad St                                                              Newark             NJ   07114                  shaddad@haddadplumbing.com                                 Overnight Mail and Email




                                                                                                                                                                                                           Document
                                                                                                                                                                                                    jweathersbyflooring@gmail.com;
Imperial Floors                                   James Weathersby        1578 Sussex Turnpike                                                       Randolph           NJ   07869                  sdoyleflooring@gmail.com                                   Overnight Mail and Email
Imperial Floors                                   1578 Sussex Turnpike                                                                               Randolph           NJ   07869                  lloportoflooring@gmail.com                                 Overnight Mail and Email
Industrial Maintenance Inc                        Brach Eichler LLC       101 Eisenhower Parkway                                                     Roseland           NJ   07068                  csoranno@bracheichler.com                                  Overnight Mail and Email
Industrial Maintenance Inc                        843 King Georges Rd                                                                                Fords              NJ   08863                  erind@rti‐imi.com                                          Overnight Mail and Email
                                                                                                                                                                                                    ironworksanddesign@gmail.com;
Iron Works and Design                             89 BRdway                                                                                          Elizabeth          NJ   07206                  rolando@iwdnj.com                                          Overnight Mail and Email
Iron Works and Design                             Peter Liloia III        117 Sunrise Terrace                                                        Washington         NJ   07882                  PL3Esq@comcast.net                                         Overnight Mail and Email
James Dean Custom Carpentry                       115 Darien Rd                                                                                      Howell             NJ   07731                                                                             Overnight Mail




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JM Pereira And Sons Inc                           Attn President          2330 Big Oak Rd                                                            Langhorne          PA   19047                                                                             Overnight Mail
Joffe Lumber & Supply Co Inc                      Anthony Gaglione        18 Burns Ave                                                               Vineland           NJ   08360                  agaglione@joffemillwork.com                                Overnight Mail and Email
Kemsco Construction                               139 Harper St                                                                                      Newark             NJ   07114                  kemscoinc@aol.com                                          Overnight Mail and Email
Kone Inc                                          Chris Rowe              47 36 36th St                                                              Long Island City   NY   11101                  christopher.rowe@kone.com                                  Overnight Mail and Email
Kone Inc                                          124 West Main                                                                                      High Bridge        NJ   08829                  julie.loosbrock@kone.com                                   Overnight Mail and Email
MASA Architectural Canopies                       250 Stelton Rd          Ste 1                                                                      Piscataway         NJ   08854                                                                             Overnight Mail
Maverick Building Services                        c/o Connell Foley LLP   P Allogramento 56 Livingston Ave                                           Roseland           NJ   07068                  pallogramento@connellfoley.com                             Overnight Mail and Email
Maverick Building Services                        Jason O Donnell         22 Chestnut St                                                             Rutherford         NJ   07070                                                                             Overnight Mail
                                                                                                                                                                                                    mtb0621@gmail.com;
                                                                                                                                                                                                    paulo@melicorp.com;
Meli Plumbing and Heating                         Mike Meli               P.O. Box 100                                                               Hackensack         NJ   07602                  fjmeli@optonline.net                                       Overnight Mail and Email
Midway Glass & Metal Installer                    Star Avallone           526 Route 17 S                                                             Carlstadt          NJ   07072                  accounting @midwayglass.com                                Overnight Mail and Email
Midway Glass & Metal Installer                    526 Route 17 S                                                                                     Carlstadt          NJ   07072                  jwm@midwayglass.com                                        Overnight Mail and Email
Mito Insulation, Inc.                             1290 Third Avenue       PO Box 711                                                                 New Kensington     PA   15068                  michelle@mitoinsulation.com                                Overnight Mail and Email
                                                                                                                                                                                                    silvajohn54@gmail.com;
Mr Concrete Corp                                  John Silva              396 Whitehead Ave                                                          South River        NJ   08882                  mrc@mrconcretecorp.com                                     Overnight Mail and Email
Narva Millwork                                    101 Victory Rd                                                                                     Springfield        NJ   07081                                                                             Overnight Mail



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                                                                                                             Contractor Notice Party Service List
                                                                                                                 Served as set forth below

                     NAME                                 ADDRESS 1                           ADDRESS 2      ADDRESS 3                          CITY      STATE POSTAL CODE COUNTRY                                                      EMAIL       METHOD OF SERVICE
                                                                                                                                                                                      dawn@framingthefuture.com;
Nomad Framing                                    1095 Cranbury S River Rd                                                               Monroe Township   NJ   08831                  lara@framingthefuture.com                                  Overnight Mail and Email
Nomad Framing                                    57 Station Rd                                                                          Cranbury          NJ   08512                                                                             Overnight Mail
Nomad Supply                                     1095 Cranbury S River Rd      Ste21                                                    Monroe            NJ   08831                                                                             Overnight Mail
Nomad Supply                                     57 Station Road                                                                        Cranbury          NJ   08512                                                                             Overnight Mail
Ocean Steel Corporation                          Hinckley Allen & Snyder LLP   J Doran 28 State St                                      Boston            MA   02109                  jdoran@hinckleyallen.com                                   Overnight Mail and Email
Ocean Steel Corporation                          Jeff Keith                    400 Chesley Drive                                        Saint John        NB   E2K 5L6      CA        keith.jeff@oceansteel.com                                  Overnight Mail and Email
                                                                                                                                                                                      wright.juliana@oscogroup.com;
                                                                                                                                                                                      westphal.jonathan@oscogroup.com;




                                                                                                                                                                                                              Case 19-27439-MBK
Ocean Steel Corporation                          Jonathan Westphal             400 Chesley Drive                                        Saint John        NB   E2K 5L6      CA        jdoran@hinckleyallen.com                                   Overnight Mail and Email
Pella Windows and Doors                          4 Dedrick Place                                                                        West Caldwell     NJ   07006                  rschnabel@njpella.com                                      Overnight Mail and Email
Pella Windows and Doors                          P.O. Box 788287                                                                        Philadelphia      PA   19178‐8287                                                                        Overnight Mail
                                                                                                                                                                                      anthony@penteldrywall.com;
Pentel Drywall Inc                               32 Ironside Court                                                                      Willingboro       NJ   08046                  Daniel@penteldrywall.com                                   Overnight Mail and Email
Pentel Drywall Inc                               Daniel Santos                 32 Ironside Court                                        Willingboro       NJ   08046                  daniel@penteldrywall.com                                   Overnight Mail and Email
                                                                                                                                                                                      bhendricksen2@gmail.com;
Pereira Electric                                 205 Liberty St                                                                         Metuchen          NJ   08840                  Info@pereiraelectric.com                                   Overnight Mail and Email
PSG Interiors                                    Sal Dunia                     120 20th Ave                                             Paterson          NJ   07501                  sal@psginterior.com                                        Overnight Mail and Email
Reynolds Painting Group NJ                       60A Amwell Rd                                                                          Flemington        NJ   08822                  david@reynoldspaintinggroup.com                            Overnight Mail and Email
Schnell Contracting Systems                      Attn A Newman                 919 Rt 33 Unit 37                                        Freehold          NJ   07728                                                                             Overnight Mail
Schnell Contracting Systems                      919 Route 33 Unit 37                                                                   Freehold          NJ   07728                                                                             Overnight Mail
Sea Box                                          1 Sea Box Drive                                                                        Cinnaminson       NJ   08077                                                                             Overnight Mail
SP Builders Contractors Inc                      Attn President                431 Saint Mihiel Dr Ste 104                              Riverside         NJ   08075                                                                             Overnight Mail
Stone Creek Construction Grp                     253 Main St                                                                            Matawan           NJ   07747                                                                             Overnight Mail




                                                                                                                                                                                      Doc 682 Filed 12/18/19 Entered 12/18/19 23:08:35
Target Fire Protection Inc.                      321 Changebridge Road         Box 9                                                    Pine Brook        NJ   07058                  marcos@targetfireprotection.com                            Overnight Mail and Email
Taylor Oil                                       77 2nd St                                                                              Somerville        NJ   08876                                                                             Overnight Mail




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                   DESCRIPTION                                                   NAME                                       ADDRESS                            EMAIL                    METHOD OF SERVICE
                                                                                                    Attn: Jonathan Squilla
                                                                                                    32 S. Jefferson Road                    derrick@aes-energy.com
Official Committee of Unsecured Creditors                 AES Lighting Group                        Whippany NJ 07981                       jonathan@aes-energy.com                  Email
                                                                                                    Attn: Mary Joanne Dowd
Counsel to SBLP Princeton,LLC, a Delaware Limited                                                   1717 K Street NW
Liability Company                                 Arent Fox LLP                                     Washington DC 20006                     mary.dowd@arentfox.com                   Email
                                                                                                    Attn: Robert M. Hirsh, Mark A. B
                                                                                                    1301 Avenue of the Americas
Counsel to SBLP Princeton,LLC, a Delaware Limited                                                    Floor 42                               robert.hirsh@arentfox.com
Liability Company                                 Arent Fox LLP                                     New York NY 10019                       mark.bloom@arentfox.com                  Email
                                                                                                    Attn: Adrienne C. Rogove
                                                                                                    300 Carnegie Center, Suite 220
Counsel to 640 Columbia Owner LLC                         Blank Rome LLP                            Princeton NJ 08540                      Rogove@BlankRome.com                     Email
                                                                                                    Attn: Anna F. Patras
                                                                                                    35 Technology Drive, Second Floor
Counsel to Bohler Engineering NY, PL                      Bohler Engineering NY, PLLC               Warren NJ 07059                         apatras@bohlereng.com                    Email
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                                                                                                    101 Eisenhower Parkeway
Counsel to Industrial Maintenance Industries              Brach Eichler L.L.C.                      Roseland NJ 07068-1067                  arainone@bracheichler.com                Email
                                                                                                    Attn: Carl J. Soranno
                                                                                                    101 Eisenhower Parkway
Counsel to Air Group, LLC                                 Brach Eichler LLC                         Roseland NJ 07068-1067                  csoranno@bracheichler.com                Email
                                                                                                    Attn: Karen Marques
                                                                                                    211 Warrant St.
Bridge Builders Newark LLC                                Bridge Builders Newark LLC                Newark NJ 07103                         karen.marques@bridgebuildersnewark.com   Email
                                                                                                    Attn: Peter J. Broege
                                                                                                    25 Abe Voorhees Drive
Counsel to Encon Mechanical Corp.                         Broege Neumann Fischer & Shaver, L.L.C.   Manasquan NJ 08736                                                               First Class Mail
                                                                                                    Attn: Shawn M. Christianson
                                                                                                    55 Second Street, 17th Floor
Counsel to Oracle America, Inc.                           Buchalter, A Professional Corporation     San Francisco CA 94105-3493             schristianson@buchalter.com              Email
                                                                                                    Attn: Edmund J. Campbell, Jr.
                                                                                                    6 Kings Highway East
Counsel to Glass Systems Tech, LLC                        Campbell Rocco Law, LLC                   Haddonfield NJ 08033                    ecampbell@campbellroccolaw.com           Email
                                                                                                    Attn: William G. Wright
                                               Capehart & Scatchard, P.A., A Professional           8000 Midlantic Drive, Suite 300 S
Counsel to Graybar Electric Company, Inc.      Corporation                                          Mt. Laurel NJ 08054                     wwright@capehart.com                     Email
Counsel to Arch Insurance Surety Bond Company;                                                      Attn: Armen Shahinian and Robert Nies
Arch Insurance Company and Arch Reinsurance                                                         11 Times Square, 31st Floor             ashahinian@csglaw.com
Company                                        Chiesa Shahinian & Giantomasi PC                     New York NY 10036                       rnies@csglaw.com                         Email
Counsel to Arch Insurance Surety Bond Company;                                                      Attn: Armen Shahinian and Robert Nies
Arch Insurance Company and Arch Reinsurance                                                         One Boland Drive                        ashahinian@csglaw.com
Company                                        Chiesa Shahinian & Giantomasi PC                     West Orange NJ 07052-                   rnies@csglaw.com                         Email




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                                                                                                            Served as set forth below

                    DESCRIPTION                                                 NAME                                           ADDRESS                                            EMAIL               METHOD OF SERVICE
                                                                                                    Attn: Albert A. Ciardi, III, and Nicole M. Nigrelli
                                                                                                    One Commerce Square
Counsel to Pentel Drywall, Inc., Delcon Builders,                                                   2005 Market Street, Suite 3500                           aciardi@ciardilaw.com
Inc.                                                       Ciardi Ciardi & Astin                    Philadelphia PA 19103                                    nnigrelli@ciardilaw.com               Email
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                                                                                                          Served as set forth below

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